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                                                 U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York
                                                     The Jacob K. Javits Federal Building
                                                     26 Federal Plaza, 37th Floor
                                                     New York, New York 10278


                                                     January 20, 2025

BY ECF AND EMAIL

The Honorable Alvin K. Hellerstein
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:     United States v. Charlie Javice and Olivier Amar, 23 Cr. 251 (AKH)

Dear Judge Hellerstein:

        The Government respectfully writes to request that the Court address a potential conflict
of interest for David Siegal, Esq., one of defendant Charlie Javice’s current lawyers. As explained
below, Mr. Siegal has personal knowledge of facts relating to the charges in the above-referenced
Indictment and may therefore become a sworn or unsworn witness at trial. The Government
therefore requests that the Court conduct a hearing pursuant to United States v. Curcio, 680 F.2d
881 (2d Cir. 1982). Even if the potential conflict is waived by Javice, the Government requests
that the Court issue an order barring Mr. Siegal from conducting cross-examination or jury
argument about matters in which he was personally involved.

       For the avoidance of doubt, the Government does not allege, and its requests are not meant
to suggest in any way, that Mr. Siegal is criminally implicated in the conduct charged against the
defendant.

I. Background

        This case concerns lies told by Javice and her co-defendant Olivier Amar during their
attempts to sell their company, Frank, in the spring and summer of 2021, and the defendants’
subsequent attempts to cover up the fraud. The company that purchased Frank, J.P. Morgan Chase
(“JPMC”), ultimately uncovered the defendants’ fraud, but not until the fall of 2022. Prior to the
fraud’s discovery, Javice and Amar worked as JPMC employees.

        During Javice’s employment at JPMC, multiple JPMC employees submitted referrals to
JPMC’s internal investigation unit for misconduct by Javice, separate and apart from the fraud
charged in the Indictment. The referrals regarding Javice’s misconduct prompted a JPMC internal
investigator (“Investigator-1”) to open an investigation into Javice, and Investigator-1 interviewed
Javice twice as part of his investigation.
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        Mr. Siegal, one of Javice’s current counsel in this case, also represented Javice during the
internal investigation. In that role, Mr. Siegal conveyed a representation to JPMC via email, on
behalf of Javice, that was false, and Mr. Siegal was also present for the two interviews conducted
by Investigator-1. During the second interview, Javice made false statements and other material
admissions when asked about the conduct that is the subject of the charges in this case. The
Government expects to call Investigator-1 as a witness at trial to testify about these matters.

      A. General Background to the Internal Investigation

       At the start of the internal investigation conducted by JPMC, JPMC had not yet uncovered
Javice’s lies relating to Frank’s “user” data. Instead, referrals led to Javice being investigated
within the workplace for the following issues: misuse of corporate credit cards for personal
expenses, personal investments that violated JPMC’s rules, and the use of personal unmonitored
communication channels such as using her legacy “@withfrank.org” email address and texting
about business matters on a personal phone. In addition, prompted by a whistleblower’s
complaints, the internal investigation expanded to cover issues relating to Frank’s website visitor
metrics—specifically, whether the defendants made misrepresentations in monthly reports
submitted to JPMC management regarding their website’s visitors during the early months of
2022.

      B. Email Exchange with Mr. Siegal: Government Exhibit 1508

       As part of the internal investigation, Investigator-1 and his colleagues had discussion with
Mr. Siegal regarding, among other things, Javice’s use of personal texts for business matters. In
response to representations by Javice that she texted on her personal phone only about non-
substantive work matters, Investigator-1 and his colleagues requested examples. Specifically, on
August 3, 2022, an investigative counsel at JPMC wrote to Mr. Siegal:

          As previously mentioned, we request (1) 2-3 examples of JPM related texts
          concerning logistics (meeting times, “I’m running a few minutes late”, etc.) from
          Charlie’s personal phone, and (2) confirmation that during her review of her text
          messages, Charlie did not find substantive business­related texts on her personal
          phone.

GX 1508 at 1. 1 The following day, on August 4, 2022, Mr. Siegal replied:

          As requested, enclosed please find three (3) examples of non-substantive, JPM
          related text communications concerning logistics. Charlie further confirms that, in
          the course of reviewing her texts for purposes of providing these examples, she did
          not find substantive business-related texts on her personal phone.

Id. Attached to Mr. Siegal’s email were screenshots from three different text message chats. Id.
at 3-5. The second attachment to Mr. Siegal’s email is an undated screenshot (the “Screenshot”)


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    Government Exhibit 1508, consisting of an e-mail chain and its attachments, is attached hereto.
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from a WhatsApp chat between Javice and Amar (the “WhatsApp Chat”). In the Screenshot,
which is depicted below, Javice and Amar discuss meeting attendance:




         The Government possesses a copy of the full WhatsApp Chat between Javice and Amar
for the time period of July 19, 2021 to April 3, 2023—as extracted from Amar’s cellphone, which
the Government seized on April 3, 2023 pursuant to a search warrant. The full WhatsApp Chat
possessed by the Government shows that Javice’s representation to JPMC, as conveyed by Mr.
Siegal in August 2022, was knowingly false and reflects her consciousness of guilt and lack of
good faith.

       The full WhatsApp Chat contains a multitude of substantive communications about Frank
and JPMC business—as well as substantive communications about the defendants’ fraud on
JPMC—including in the months leading up to Mr. Siegal’s August 2022 email. While there are
no dates visible on the Screenshot taken by Javice and conveyed by Mr. Siegal to JPMC, the
Government’s copy of the WhatsApp Chat shows that the messages in the Screenshot were sent
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on May 17, 2022—approximately ten weeks prior to Mr. Siegal’s email. In the time period after
May 17, 2022 and before Mr. Siegal’s email, Javice and Amar had multiple substantive
communications about work matters. As one example, on June 22, 2022, the defendants had the
following exchange:

 JAVICE             i dont believe in rebuilding fafsa
 AMAR               There's no choice
 AMAR               It won't work as is inside of Chase
 JAVICE             let them deal with that after we go
 AMAR               and it's too much of a security issue outside of it
 AMAR               Why not just let them rebuild and go on vacation while they do?
 JAVICE             cuz theyll expect us to do it
 JAVICE             and run normally
 AMAR               No
 AMAR               This has its own team
 JAVICE             remember how long that actually takes
 AMAR               Yeah, but it has to get done
 AMAR               they want to move forward with the final state either way
 JAVICE             ok but estimate 18months min
 AMAR               If [Javice’s manager] is smart, she'll let us do 1B and have 2 work in
                    parallel
 JAVICE             we dont have heads for that
 JAVICE             there is no parrallel
 AMAR               That takes it into consideration
 JAVICE             not at the hiring rate
 AMAR               We brought it up last week
 JAVICE             its not in the timeline
 AMAR               It kind of is, but I'll bring it up
 JAVICE             6 months lead time
 AMAR               yeah
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        As another relevant example, Javice and Amar had the following exchange on June 27,
2022:

 JAVICE              Finally got a work phone - so My new work number is 3055043590
 JAVICE              For anything work needed :)
 AMAR                Great. Wipe everything Chase off your personal phone
 JAVICE              Just waiting to install email and then everything will be transferred
 JAVICE              So it’s finally done

       In selecting the non-substantive Screenshot from May 22, 2022, Javice was undoubtedly
aware of her substantive communications with Amar in the WhatsApp Chat, yet nonetheless
represented, through Mr. Siegal, that no such communications existed.

       The Government expects to introduce Government Exhibit 1508 as an exhibit at trial and
to argue that Javice concealed her substantive communications, and caused her private attorney
(Mr. Siegal) to convey a falsehood to JPMC. In taking these deceptive actions, Javice sought to
conceal the voluminous incriminating messages she exchanged with Amar in the WhatsApp
Chat—of which the jury will be well aware as the material portions of the WhatsApp Chat,
including those excerpted above, will also be offered into evidence as Government Exhibits.

   C. Accessing Javice’s Frank Email Account

       During the internal investigation, Investigator-1 obtained access to and reviewed Javice’s
email accounts—both her Chase email account and her “@withfrank.org” email account (the
“Frank Email Account”). Through its acquisition of Frank, JPMC became the owner of the server
that housed Javice’s Frank Email Account, which she had used prior to the acquisition. As
described in the criminal Complaint in this case (Dkt. 1), that Frank Email Account contained
extensive evidence of Javice’s fraud during the acquisition process.

   D. Javice Is Confronted with Her Acquisition Fraud During Her Second Interview

        Investigator-1 conducted several interviews in the investigation.          Investigator-1
interviewed Amar once, on September 6, 2022. A week later, on September 13, 2022, Investigator-
1 interviewed Javice for a second time. In the time between Amar’s interview and Javice’s second
interview, Investigator-1 became aware of emails from the Frank Email Account in which, in early
August 2021, Javice and the data scientist identified in the Complaint as “Scientist-1” discussed
generating the fake synthetic data set that was then submitted to JPMC to satisfy due diligence
during the Frank acquisition. (See Dkt. 1 ¶¶ 24, 27).

        At the end of the second interview, Investigator-1 questioned Javice regarding her work
with Scientist-1 and certain emails they exchanged. Over an extended colloquy, Javice repeatedly
lied about Scientist-1’s work and never once admitted the simple truth that he created a synthetic
data set at her direction. Javice was also questioned about purchasing data to cover up the fraud,
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about which she also lied. Mr. Siegal was present with Javice during this interview and witnessed
her false statements.

II. Applicable Law

        District courts have two separate obligations where counsel has a possible conflict of
interest. First, the district court has an “inquiry obligation” when it is apprised of the possibility
of a conflict of interest, under which it must “investigate the facts and details of the attorney’s
interests to determine whether the attorney in fact suffers from an actual conflict, a potential
conflict, or no genuine conflict at all.” United States v. Levy, 25 F.3d 146, 153 (2d Cir. 1994); see
Armienti v. United States, 313 F.3d 807, 810 (2d Cir. 2002). If, after inquiry, “the court discovers
no genuine conflict, it has no further obligation.” United States v. Perez, 325 F.3d 115, 125 (2d
Cir. 2003). But if the district court finds after some inquiry that the defendant’s attorney suffers
from an actual or potential conflict, the district court then has a second, “disqualification/waiver”
obligation, under which it is required either to disqualify the attorney if the conflict is sufficiently
severe, or, if the conflict may be waived, to conduct a Curcio proceeding to advise the defendant
of the ramifications of the conflict and obtain a waiver of any conflict from the defendant.

        In the Second Circuit, per se conflicts have been found only in two classes of cases, and
the Circuit has repeatedly refused to expand the rule beyond those categories: where trial counsel
“is not authorized to practice law” and where trial counsel “is implicated in the very crime for
which his or her client is on trial.” Armienti, 313 F.3d at 823. An actual conflict is one that is so
“severe” that “no rational defendant would knowingly and intelligently desire the conflicted
lawyer’s representation . . . .” Levy, 25 F.3d at 153 (citing United States v. Fulton, 5 F.3d 605,
612-14 (2d Cir. 1993)). An actual conflict exists “when the attorney’s and the defendant’s interests
diverge with respect to a material factual or legal issue or to a course of action, or when the
attorney’s representation of the defendant is impaired by loyalty owed to a prior client.” United
States v. Jones, 381 F.3d 114, 119 (2d Cir. 2004) (internal quotation marks and citations omitted).
Where a conflict of interest is actual, a court is “obliged” to disqualify the attorney. Levy, 25 F.3d
at 153. A potential conflict of interest, by contrast, is a “lesser” conflict. Id. A potential conflict
exists where a court finds that “a rational defendant could knowingly and intelligently desire the
conflicted lawyer’s representation . . . .” Id. If “the court determines that the attorney suffers
from a lesser [actual] or only a potential conflict, then it may accept a defendant’s knowing and
intelligent waiver of his right to conflict-free counsel and permit the defendant to be represented
by the attorney of his choice.” Perez, 325 F.3d at 125.

         Disqualification may be required where an attorney is in fact, or is in a position to become,
either a sworn or unsworn witness at trial. See, e.g., United States v. Kliti, 156 F.3d 150, 156 (2d
Cir. 1998)) (“When faced with an attorney as a sworn or unsworn witness, the proper recourse is
to disqualify the attorney, not to exclude the testimony.”). An attorney who is actually called as a
witness at trial should generally be disqualified because, inter alia, ethical codes otherwise
generally require the attorney to withdraw his or her representation. See id. at 156, n.8 (citing
Model Code of Professional Responsibility DR 5-102(A)); United States v. Locascio, 6 F.3d 924,
933 (2d Cir. 1993) (same); New York Rules of Professional Conduct, Rule 3.7 (“Lawyer as
Witness”). A district court may properly disqualify an attorney where the Government represents
that it is merely possible that the attorney will be a witness at trial. See Jones, 381 F.3d at 121
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(“The risk that [the attorney] would become a witness at trial was enough alone to allow the district
court to [disqualify the attorney] under an abuse of discretion standard. We could not expect the
district court to rule otherwise where it seems more likely than not that a number of conflicts will
materialize.”).

         Even where an attorney is not actually called as a sworn witness, disqualification is proper
where the attorney is nonetheless in the position of serving as an unsworn witness. “An attorney
acts as an unsworn witness when his relationship to his client results in his having first-hand
knowledge of the events presented at trial.” Locascio, 6 F.3d at 933. In such circumstances, an
uncalled attorney “can still be disqualified, since his performance as an advocate can be impaired
by his relationship to the events in question. For example, the attorney may be constrained from
making certain arguments on behalf of his client because of his own involvement, or may be
tempted to minimize his own conduct at the expense of his client. Moreover, his role as advocate
may give his client an unfair advantage, because the attorney can subtly impart to the jury his first-
hand knowledge of the events without having to swear an oath or be subject to cross examination.”
Id.; see also Ciak v. United States, 59 F.3d 296, 305 (2d Cir. 1995) (“[An attorney’s] arguments to
the jury about [a witness’s] prior statements would be viewed as a statement of a witness as well
as of an advocate – thereby creating a conflict severe enough to require [the attorney’s]
disqualification.”); United States v. McKeon, 738 F.2d 26, 34-35 (2d Cir. 1984) (“If counsel were
to cross-examine the witness as to her conversations with him, argue the credibility of her
testimony to the jury, or suggest alternative interpretations of her account of the conversation, he
would place himself in the position of an unsworn witness and implicitly put his own credibility
at issue. . . . [T]he Sixth Amendment interest in counsel of choice must give way when chosen
counsel is so compromised.”). And because the Government, not the defendant, is prejudiced
when a defense attorney becomes an unsworn witness, “[w]aiver by the defendant is ineffective in
curing the impropriety in such situations.” Locascio, 6 F.3d at 934.

        “In deciding a motion for disqualification, the district court recognizes a presumption in
favor of the accused’s chosen counsel.” Locascio, 6 F.3d at 931. “Where the right to counsel of
choice conflicts with the right to an attorney of undivided loyalty, the choice as to which right is
to take precedent must generally be left to the defendant and not be dictated by the government.”
Perez, 325 F.3d at 125. Nevertheless, “where a serious potential conflict of interest exists, a trial
judge has broad discretion to refuse a defendant his or her choice of counsel.” United States ex
rel. Stewart v. Kelly, 870 F.2d 854, 857 (2d Cir. 1989); see also Wheat v. United States, 486 U.S.
153, 164 (1988) (holding that presumption in favor of petitioner=s counsel of choice “may be
overcome not only by a demonstration of actual conflict but by a showing of a serious potential
for conflict”); United States v. Zichettello, 208 F.3d 72, 104 (2d Cir. 2000) (noting a district court’s
“substantial latitude” to require disqualification even where defendants have attempted to waive
any potential conflict as long as it determines that the conflict is “severe”). Thus, “[i]n order to
avoid lurking potential conflicts and to preserve the public’s confidence in the integrity of the
judicial system,” district courts have discretion to reject a defendant’s waiver of an actual or
potential conflict. United States v. Oberoi, 331 F.3d 44, 52 (2d Cir. 2003) (citing Wheat, 486 U.S.
at 162-63); see also United States v. Rogers, 9 F.3d 1025, 1030-32 (2d Cir. 1993); Locascio, 6
F.3d at 931-35 (2d Cir. 1993). Even the risk of a potential conflict becoming an actual conflict is,
in certain cases, sufficient to empower the district court to decline to accept a waiver. See Jones,
381 F.3d at 120-21; United States v. Gonzales, 105 F. Supp. 2d 220, 223 (S.D.N.Y. 2000); United
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States v. Rahman, 105 F. Supp. 2d 220, 223 (S.D.N.Y. 1994) (judicial assessment “must include
. . . both a prudent awareness of how little can be predicted with certainty before a trial begins and
a sober regard for how much can go wrong once a trial starts”).

III. Discussion

        The Court should hold a Curcio hearing to address Mr. Siegal’s potential conflict of interest
arising from his status as a sworn or unsworn witness at trial. Should the conflict be waived, the
Court should prevent Mr. Siegal from conducting cross-examinations or jury arguments that raise
the matters to which he was personally a witness.

         With respect to Mr. Siegal’s ability to appear as counsel for Mr. Javice at trial, the
Government requests the tailored relief described above to avoid the need to disqualify Mr. Siegal.
That is, the Government does not believe that disqualification of Mr. Siegal is required provided
there is no potential that Mr. Siegal could be an unsworn witness at trial to the prejudice of the
Government. Because Mr. Siegal is one of several counsel of record for Mr. Javice, he thereby
need not participate in matters that might render him an improper unsworn witness. Cf. United
States v. Finkelstein, No. 21 CR. 217 (PGG), 2021 WL 2555832, at *5 (S.D.N.Y. June 22, 2021)
(disqualifying attorney, who was serving as sole trial counsel, because he was a potential unsworn
witness). So long as such matters are handled only by Javice’s other counsel—including “lead
trial counsel” who appeared as counsel of record in September 2024 and prompted the adjournment
of this trial from October 2024 to February 10, 2025, see Dkt. 162 2—the Government submits that
Mr. Siegal’s potential conflict does not require his disqualification.

         The Government has discussed this matter with Javice’s counsel. Mr. Siegal has agreed
not to conduct the cross-examination of Investigator-1, but has not agreed to refrain from arguing
to the jury regarding matters to which he was a witness. The law prohibits an attorney from acting
as an unsworn witness during cross examinations and jury arguments. See, e.g., McKeon, 738
F.2d at 35 (“If counsel were to cross-examine the witness as to her conversation with him, argue
the credibility of her testimony to the jury, or suggest alternative interpretations of her account of
the conversation, he would place himself in the position of an unsworn witness and implicitly put
his own credibility at issue.”); see also Locascio, 6 F.3d at 934 (where an attorney acts as an
unsworn witness, “[w]aiver by the defendant is ineffective in curing the impropriety,” because
“the detriment is to the government, since the defendant gains an unfair advantage, and to the
court, since the factfinding process is impaired.”). Accordingly, the Court should prohibit Mr.
Siegal from (1) cross-examining Investigator-1, or any other witness, about matters in which Mr.
Siegal was personally involved and (2) making argument to the jury in this case. Those roles at
trial can instead be handled by Javice’s other experienced trial counsel of record in this case.

       With respect to Government Exhibit 1508, if Mr. Siegal will be appearing as counsel of
record before the jury, the Government is willing to anonymize the involvement of Mr. Siegal in


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 In requesting the trial adjournment, Javice wrote: “In late August, Ms. Javice retained Jose Baez
of The Baez Law Firm and Ronald S. Sullivan Jr. of Ronald Sullivan Law PLLC, and earlier this
month, she determined that they would serve as lead trial counsel in this matter.” Dkt. 162 at 2.
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Government Exhibit 1508. That is, the Government is willing to redact Mr. Siegal’s name and
replace it with text indicating that the email was sent from a private defense attorney for Javice.

IV.    Conclusion

       For the reasons stated above, the Court should:

               (1) conduct a Curcio hearing regarding Mr. Siegal’s potential conflict of interest;
               and

               (2) assuming the conflict is waived by the defendant, prohibit Mr. Siegal from (a)
               cross-examining Investigator-1, or any other witness, about matters in which Mr.
               Siegal was personally involved or (b) making argument to the jury in this case.


                                             Respectfully submitted,

                                             MATTHEW PODOLSKY
                                             Chief Counsel to the Acting United States Attorney
                                             Acting under Authority Conferred by
                                             28 U.S.C. § 515


                                      By:    ____/s/_____________________
                                             Rushmi Bhaskaran
                                             Nicholas W. Chiuchiolo
                                             Micah F. Fergenson
                                             Georgia Kostopoulos
                                             Assistant United States Attorneys
                                             212-637-2439 / -1247 / -2190 / -2212
